     Case 1:21-cv-00119-RDM            Document 127-1        Filed 10/26/23      Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                  Plaintiffs,
            v.
                                                          CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                  Defendants.



                                ______________________________

             FLORIDA INTERVENORS’ POST-HEARING MEMORANDUM
                        ______________________________

       The State of Florida and the Florida Department of Environmental Protection (“FDEP”)

(“Florida Intervenors”) respectfully submit this memorandum following the Court’s October 19,

2023 summary judgment hearing, in accordance with the motion for leave filed herewith.

       Florida 404 Program Update – The Court has previously inquired about the status of

Florida’s 404 program. Since assuming the program almost three years ago, FDEP has (a) hired and

trained over 300 certified wetlands evaluators (“CWEs”) or other staff assisting with the state 404

program; (b) received over 8,760 applications for individual permits, coverage under general or

regional permits, and/or requests for No Permit Required (“NPR”) determinations, and of those, over

3,380 applications have been withdrawn (often based on requests by FDEP for more information or

other concerns); (c) issued 608 individual state 404 permits (including modifications); (d) denied

270 applications (including individual permits, regional and/or general permits, and NPR requests);

(e) conducted over 470 compliance inspections; (f) issued over 190 enforcement warning letters; (g)

referred 57 matters for potential further enforcement; and (h) executed 22 consent orders.
     Case 1:21-cv-00119-RDM             Document 127-1         Filed 10/26/23      Page 2 of 8




       Standing Demonstrative – At the hearing, Florida Intervenors briefly referenced a

demonstrative identifying key arguments related to justiciability for each claim and separately

illustrating why Plaintiffs’ assertions of injury are too speculative to support standing under Clapper

v. Amnesty Int’l USA, 568 U.S. 398 (2013), Crow Creek Sioux Tribe v. Brownlee, 331 F.3d 912

(D.C. Cir. 2003), and Waterkeeper All., Inc. v. Regan, 41 F.4th 654 (D.C. Cir. 2022). This

demonstrative is enclosed as Attachment 1.

       Endangered Species Review – At the hearing, Plaintiffs argued that they were unable to

adequately comment on species impacts issues because they lacked access to key documents. That

is not correct. The Florida 404 program’s species review process was comprehensively described in

the state’s 404 program application including (among others) in the Memorandum of Understanding

(“MOU”) entered between the U.S. Fish & Wildlife Service (FWS), the Florida Fish & Wildlife

Conservation Commission (“FWC”), and FDEP (EPA-HQ-OW-2018-0640-0016-A2); and in the

Florida 404 Handbook (HQ-OW-2018-0640-0002-A20 at 6, 23-24). Moreover, during the public

comment process, Plaintiffs had a copy of Florida’s Biological Assessment (“BA”), which was

attached to their comment letters.1 Almost 300 pages in length, the BA comprehensively described

the action and action area, impacted species and habitat (including for 235 listed species potentially

affected by the action), baseline conditions, potential effects on species (including cumulative

effects), federal-state “species coordination review” (including the anticipated Technical

Assessment Process), species assessments, incidental take and prospects for incidental take

statement terms and conditions, and other relevant matters. Many aspects of Florida’s BA were

later incorporated into EPA’s Biological Evaluation (“BE”) (EPA-HQ-OW-2018-0640-0649),



1
 See, e.g., Comment submitted by Earthjustice attaching copy of Florida’s BA, which is
available in the EPA Administrative Record as Exhibit 58 to the document posted at EPA-HQ-
OW-2018-0640-0387.
                                                  2
     Case 1:21-cv-00119-RDM             Document 127-1         Filed 10/26/23      Page 3 of 8




which in turn helped to support the FWS’ Programmatic Biological Opinion (“BiOp”) (EPA-HQ-

OW-2018-0640-0642).

       Likewise, Plaintiffs argued that Florida and FWS are not adequately protecting listed species

during program implementation. This is both post-decisional and incorrect. Consistent with the

BiOp, the MOU, and the Florida 404 Handbook, the “Endangered and Threatened Species Technical

Team” (FWS, FWC, and FDEP) convenes regularly to discuss projects and implement species

coordination procedures. Under those procedures, both FWS and FWC review each proposed

project’s effect on listed species using the same standards applicable to federal permits. All of these

agencies – FWS, FWC, and FDEP – must and do participate in the species review process. Reciting

“Key Commitments,” the FWS’ BiOp expressly states:

              “FDEP, FWC, and USFWS will participate in a State 404 program species
               coordination technical team.” BiOp at 67.

              “All State 404 applications will be forwarded to USFWS for review…” BiOp at 68.

              “The parties (FDEP, FWC, and USFWS) will implement the [MOU].” Id. at 71.

              “FDEP shall incorporate as permit conditions all recommended impact avoidance
               and minimization measures (protection measures) provided to FDEP by the
               USFWS …” Id.

              “FDEP will issue a Notice of Intent to Deny the permit if the USFWS concludes
               that a permit application is likely to jeopardize or adversely modify designated
               critical habitat and no protection measures are available to reduce the risk to an
               acceptable level.” Id. at 72.

The MOU between FWS, FWC, and FDEP also recounts these obligations. See also 16 U.S.C. §

1535(a) (directing FWS to “cooperate to the maximum extent practicable with the States” to

further the conservation of federally threatened and endangered species); 16 U.S.C. § 1536(a)(1)

(imposing a duty of species conservation on all federal agencies). For Florida 404 permits, FWS’

conclusions regarding potential species impacts and necessary measures to address those impacts are


                                                  3
     Case 1:21-cv-00119-RDM            Document 127-1         Filed 10/26/23      Page 4 of 8




“determinative.” Dkt. 102 at 23-24. Incidental take is not authorized if a permittee fails to comply

with any of those measures. See BiOp at 70. FWS is committed to the process and entitled to a

presumption of regularity. And even if FWS failed at some point to perform its legal duty of

participating in this species review process, recourse would be available.2

       Plaintiffs claimed that the species review process is not protecting listed species in Florida.

That is post-decisional but also plainly wrong. During the July 2022-June 2023 time period alone,

this species review process involved approximately 500 species-specific “effect” determinations

involving over 30 listed species. Where a proposed project is found to “may affect, likely to

adversely affect listed species,” the species review team (including FWS) continues to quantify

the amount of estimated take (including habitat impacts); impose avoidance, minimization, and

mitigation requirements; and adopt measures to protect listed species and habitat.

       Ultimately, Plaintiffs’ complaint does not challenge EPA’s correct decision to initiate

Section 7 consultation. EPA made that decision following public notice and comment,3 and it was

consistent with the Supreme Court’s decision in National Association of Home Builders v.

Defenders of Wildlife, 551 U.S. 644 (2007). As to the Court’s question regarding other contexts

where EPA has utilized a similar programmatic approach for approving state programs, EPA

consultation about state program approvals is inevitably rare because, unlike EPA’s approval of

state 404 programs, the other federal environmental programs subject to state delegation (such as


2
  For instance, under Section IV of the MOU, any of the parties to the MOU may initiate the
“Interagency Elevation Process” to resolve such a scenario. Likewise, EPA would have
oversight responsibility to take appropriate action to ensure that Florida’s program remains
protective of listed species.
3
  See 85 Fed. Reg. 30953 (May 21, 2020) (EPA-HQ-OW-2018-0640-0637); see also 85 Fed.
Reg. 57853, 57856 (Sept. 16, 2020) (EPA-HQ-OW-2018-0640-0001) (explaining EPA decision
to initiate ESA Section 7 consultation in accordance with EPA memorandum dated August 27,
2020, which is available in the Administrative Record at EPA-HQ-OW-2018-0640-0660-A1).


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        Case 1:21-cv-00119-RDM         Document 127-1        Filed 10/26/23      Page 5 of 8




those under the Clean Air Act, RCRA, Safe Drinking Water Act, etc.) do not provide EPA with

discretion to consider impacts to listed species as part of a state program approval process.4

           The Court asked about New Jersey’s ESA approach. Thirty years ago, when EPA initiated

Section 7 consultation for New Jersey’s 404 program, it was not likely to adversely affect listed

species; thus, a BiOp was not prepared. 5 That was reasonable. New Jersey has only 17 listed

species and less than 1,400 square miles of water area. BiOps are prepared in “formal consultation”

where an agency action is likely to adversely affect listed species or critical habitat. However, as

part of New Jersey’s approval process, FWS expressly cautioned EPA in 1993 that, “future

consultations on state assumptions will be conducted as programmatic formal

consultations…”6 In Florida’s situation, EPA and FWS did just that. Florida has over 130 listed

species and over 12,000 square miles of water area. The agencies engaged in formal consultation

and FWS concurred that the action was “likely to adversely affect” listed species, which triggered

the need for a BiOp and, in light of FWS’ “no jeopardy” finding, an incidental take statement was

adopted as part of the BiOp. This was consistent with ESA Section 7. See Cooling Water Intake

Structure Coal. v. EPA, 898 F.3d 173 (2nd Cir. 2018), amended, 905 F.3d 49, 78 (2nd Cir. 2018);

see also 16 U.S.C. § 1536(o)(2) (providing incidental take coverage for “any taking that is in

compliance with the terms and conditions specified in a written statement [by FWS] provided

under subsection (b)(4)(iv)”); id. § 1536(b)(4)(iv) (directing FWS in context of ESA Section




4
 See EPA Memorandum on Endangered Species Act Section 7(a)(2) Consultation, at 6 (Aug. 27,
2020) (EPA-HQ-OW-2018-0640-0660).
5
 See Letter from FWS Regional Director to EPA Acting Regional Administrator at 1 (Dec. 22,
1993), available at https://www.fws.gov/sites/default/files/documents/MOAUSFWS.pdf.
6
    Id. at 3.
                                                 5
     Case 1:21-cv-00119-RDM            Document 127-1        Filed 10/26/23      Page 6 of 8




7(a)(2) consultation to provide federal agency and applicant with incidental take statement with

terms and conditions to implement species conservation “measures”).

       Retained Waters – The Court asked about implementation of the MOA between the Corps

of Engineers and FDEP related to Retained Waters (EPA-HQ-OW-2018-0640-0019). The Corps and

FDEP continue to implement the MOA’s “Joint Coordination Procedures” and have consistently

reached agreement on whether particular projects are located in “retained” or “assumed” waters. A

“not us” problem has not occurred. The Retained Waters List (appended to the MOA and made

available in the Florida 404 Handbook) currently lists over 500 waterbodies (including various bays,

lakes, rivers, and creeks), which compares favorably with the Michigan-Corps MOA (Attachment

2, listing approximately 80 waterbodies) and the New Jersey-Corps MOA (Attachment 3, no specific

list provided). “Historic use” waters are properly excluded from the scope of “retained waters.” See

FINAL REPORT OF THE ASSUMABLE WATERS SUBCOMMITTEE, at 55-61 (May 2017) (EPA-HQ-OW-

2018-0640-0661) (explaining the legislative and regulatory history regarding historic use waters for

purposes of 404(g) of the Clean Water Act).

       Sackett – Plaintiffs made much about an Arizona district court decision while dismissing the

Supreme Court’s recent decision in Sackett v. EPA. This, too, is post-decisional and incorrect. Dkt.

107 at 16. The Arizona order was plainly contrary to the Supreme Court’s decision in Sackett and

has absolutely no relevance to this proceeding.




                                                  6
     Case 1:21-cv-00119-RDM   Document 127-1    Filed 10/26/23     Page 7 of 8




Dated: October 26, 2023                  Respectfully submitted,
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                                     7
     Case 1:21-cv-00119-RDM          Document 127-1        Filed 10/26/23      Page 8 of 8




                               CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of October 2023, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


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